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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 21-CR-99 (PLF)
       v.                                    :
                                             :
VAUGHN GORDON,                               :
                                             :
               Defendant.                    :

                                 NOTICE OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Assistant United States Attorney Nathaniel K. Whitesel, hereby

informs the Court that Nathaniel K. Whitesel is entering his appearance in this matter on behalf of

the United States.


                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar Number 481052


                                                     /s/ Nathaniel K. Whitesel
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